     Case 2:14-cv-05661-GHK-PJW        Document 74     Filed 12/11/15   Page 1 of 7 Page ID
                                            #:1372
                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                         December 11, 2015


       No.:                15-56899
       D.C. No.:           2:14-cv-05661-GHK-PJW
       Short Title:        Victor Acevedo, et al v. City of Los Angeles


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
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                                   #:1373



                  UNITED STATES COURT OF APPEALS
                                                                 FILED
                          FOR THE NINTH CIRCUIT
                                                                 DEC 11 2015
                                                                MOLLY C. DWYER, CLERK
                                                                 U.S. COURT OF APPEALS




  VICTOR ACEVEDO,                           No. 15-56899

             Plaintiff,
                                            D.C. No. 2:14-cv-05661-GHK-PJW
  and                                       U.S. District Court for Central
                                            California, Los Angeles
  EVERARDO AMARAL; ANDREAS
  AN; DANIEL ANDERSEN; MARK                 TIME SCHEDULE ORDER
  ARAGON; FRANCISCO
  ARREDONDO; JUAN ARROYO;
  JOHN AVALOS; KEITH BACON;
  JOHN BANUELOS; JAY BATSON;
  JESUS BAZAN; TODD BEHRENS;
  ALBERT BERTIERE; RICHARD
  BERTOLDO; GIOVANNI
  BOCCANFUSO; MICHEL
  BONILLA; TODD BRACHT; JASON
  BURCHAM; JEFFREY BURNLEY;
  ROBERT CALZADILLAS; BRIAN
  CAMPAGNA; JOSE CARIAS;
  CESAR CHAVEZ; BRETT CLARK;
  THOMAS CLEARY; WILLIAM
  CORONA; JAMES CRAWFORD;
  OSSIE CRENSHAW; EDWARD
  CROCKETT; ANDRES CRUZ;
  EDGAR CRUZ; JOSEPH CRUZ;
  JUAN CRUZ; MARIO CRUZ;
  RAQUEL CRUZ; CHRISTOPHER
  CURRY; LUCIEN DAIGLE;
  THOMAS DAVOREN; RUDY DE LA
  FUENTE; GREGORY DEBES; LUIS
  DELACRUZ; OSVALDO
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                                  #:1374

  DELGADILLO; WAYNE DEVEY;
  ROBERT DONALDSON; CELESTE
  DULA; MICHAEL DUNN; AMIR
  ELFARRA; TANYA EPPENGER-
  CAMPBELL; HECTOR ESPARZA;
  ABEL ESTOPIN; AUSTIN
  FERNALD; MICHAEL
  FERNANDEZ; MARIO FLORES;
  ROGER FONTES; MICHAEL FOX;
  ERIC FUKUTE; PATRICIA FULLER;
  ERIN GABALDON; HEATHER
  GAGEBY; DANIEL GARCIA;
  GRACE GARCIA; RUBEN GARCIA;
  GABRIEL GAXIOLA; JOSEPH
  GETHERALL; GREGORY
  GLODERY; STEVEN GOMEZ;
  JUAN GONZALEZ; RIGOBERTO
  GONZALEZ; SEAN GONZALEZ;
  MICHAEL GRAHAM; STEVE
  GRIFFIN; DAVID GUITERMAN;
  JORGE GUTIERREZ; JAMES
  HAGERTY; HAROLD HALLIN;
  CHARLES HALLIBURTON; DAVID
  HARRISON; JOHN HATFIELD;
  DWAYNE HAYDEL; ERIC
  HERMANN; NATHAN
  HERNANDEZ; RYAN HICKS;
  PATRICK HIGA; RHONDA
  HOWARD; ELBERT W. HUGHES,
  Jr.; MARIO JACINTO; GREGORY
  JACKS; MARK JACKSON; PHILLIP
  JACKSON; HUMBERTO JAIME;
  RUBEN JIMENEZ; MATTHEW
  JONES; HAL JONES, Jr.; JAMES
  KAISER; TIMOTHY KALKUS;
  ALLEN KAMAL; JOHN KENT;
  MICHAEL KNOKE; ALLAN KRISH;
  IRMA KRISH; TRAVIS KUPKA;
  MITCHELL LAMBDIN; SEAN
  LAULE; MARK LEE; PAUL
  LEHMAN; JOAN LEUCK; JOHN
  LICATA, Jr.; JOSEPH LINARES;
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                                  #:1375

  RAFAEL LOMELI; LETICIA
  LOPEZ; DEANN MALTOS;
  MARVIN MANCIA; RAYMOND
  MARQUEZ; JAMES MARSHALL;
  DANIEL MARTIN; MICHAEL
  MARTINEZ; RICHARD
  MCCAULEY; DOUGLAS
  MCCOMBS; ANGELA MCGEE;
  MICHAEL MCLANN; CRAIG
  MCLAREN; TIMOTHY MCRATH;
  JASON MEILLEUR; ALONSO
  MENCHACA; MANFRED
  MERKENS; STEPHEN MERRIN;
  MICHAEL MIRACLE; BRYAN
  MIVELAZ; TRISHA MIVELAZ;
  MARJAN MOBASSER; ANDREW
  MOODY; CHARLES MOORE;
  ALBERT MORA; JOSEPH
  MUELLER; ABEL MUNOZ;
  ALVARO NAVARRO; JOANNA
  NEEDHAM; BRUCE NELSON;
  MINH NGUYEN; JAMES NOSS;
  DAVID NUNN; RICHARD OKE;
  LEONARDO OLEA; RICARDO
  OLIVA; ADAM O'NEILL; OSCAR
  ONTIVEROS; MICHAEL OPPELT;
  DONALD ORNELAS; ANTHONY
  ORTIZ; MONILACKTENA
  OUAHDI; DANA OVIATT; YOUNG
  PAK; ROSEANNE PARINO; JUAN
  PEREIDA; EDUARDO PEREZ; LEE
  PERRY; DAVID PETERSEN;
  JOSEPH POLLACK; RAUL
  PORRAS; RYAN POWELL; FRANK
  PRECIADO; WARREN PULLEY;
  HUY QUACH; JAMES QUINONES;
  ANTONIO RAMIREZ; ROLAND
  RAMIREZ; PEDRO REYES; ROBIN
  RICHARDS; PABLO RIVERA; JACK
  III RIZZOTTO; ERWIN ROCHA;
  RICK RODGERS; JOAQUIN
  RODRIGUEZ, Jr.; HENRY
Case 2:14-cv-05661-GHK-PJW   Document 74   Filed 12/11/15   Page 5 of 7 Page ID
                                  #:1376

  ROMERO; TIMOTHY RUIZ;
  MANUEL RUMION; DAVID
  SABEDRA; DARRELL SANCHO;
  ROGELIO SANDOVAL; DARRELL
  SANOMO; BRAIN SCHMIDER;
  MICHAEL SCHNEIDER; PAUL
  SCIARRILLO, Jr.; DARYL
  SCOGGINS; RUTHANN SCOTT;
  TERRI SCOTT; ROCKY
  SHERWOOD; JOHN SHIN; CESAR
  SILVA; DONALD SINGER;
  ANTHONY SMITH; EUGENE
  SMITH; KAREN SMITH; JESSE
  SOLTERO; GREGORY SOUTHERN;
  FRANCINE SPADA; JEFFREY
  SPANGLER; SVEN STEFFENSEN;
  ANGELO STEWART; JEFFREY
  STEWART; JODY STIGER; SHAD
  STILKEY; THOMAS STONE;
  PATRICIA SUAREZ; JONATHAN
  SUGAR; RICHARD SUVIATE;
  JAMES SWIFT, III; FABIO
  TAGLIERI; JOHN TALBOT;
  GERARDO TERRAZAS; PHILIP
  THOMPSON; JOSEPH YAMZON;
  JAIME ZARATE; JAMES
  THORNTON; PEGGY THUSING;
  CHARLES TIZANO; EMILY
  TOMLIN; PEDRO TORRES;
  TIMOTHY TOTH; FREDERICK
  TREDY TREDY; ANGELA
  TRIMINO; JACK TUCK; BRIAN
  TYNDALL; ADAN URENA; ONAM
  URENA; CHARLES URSO; MIGUEL
  VACA; MIGUEL VALLEJO; RITA
  VALLEJO; RAYMOND VALOIS;
  FELIPE VASQUEZ; ELIZABETH
  VEASCO; PIERRE
  VIEILLEMARINGE; D. MICHELE
  VROLYKS; JUDE WASHINGTON;
  DONNA WATKINS; GARY
  WELLER; STANLEY
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                                      #:1377

  WIEDENHAUPT; TIMOTHY
  WIENCKOWSKI; SHELBY
  WILCOX; SCOTT WILHELM;
  CLARENCE WILLIAMS;
  MATTHEW WILLIAMS; MICHAEL
  WILLIAMS; TROY WILLIAMS;
  DEBRA WINTER; JOE WITTY;
  JOHN WONG; MICHAEL
  WOODINGS; MIGUEL
  DOMINGUEZ,

               Plaintiffs - Appellants,

   v.

  CITY OF LOS ANGELES,

               Defendant - Appellee.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

 Fri., December 18, 2015       Mediation Questionnaire due. If your registration for
                               Appellate ECF is confirmed after this date, the
                               Mediation Questionnaire is due within one day of
                               receiving the email from PACER confirming your
                               registration.
 Mon., January 11, 2016        Transcript shall be ordered.
 Mon., April 11, 2016          Transcript shall be filed by court reporter.
 Mon., May 23, 2016            Appellants' opening brief and excerpts of record
                               shall be served and filed pursuant to FRAP 32 and
                               9th Cir. R. 32-1.
 Wed., June 22, 2016           Appellee's answering brief and excerpts of record
                               shall be served and filed pursuant to FRAP 32 and
                               9th Cir. R. 32-1.
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                                   #:1378
The optional appellants' reply brief shall be filed and served within fourteen
days of service of the appellee's brief, pursuant to FRAP 32 and 9th Cir. R.
32-1.

Failure of the appellants to comply with the Time Schedule Order will result
in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                              FOR THE COURT:
                                              Molly C. Dwyer
                                              Clerk of Court

                                              Jennifer Nidorf
                                              Deputy Clerk
